                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION


 UNITED STATES OF AMERICA,
 vs.                                             Case No. 23-80101-CR
 DONALD J. TRUMP,                                CANNON/REINHART
 WALTINE NAUTA, and
 CARLOS DE OLIVEIRA,
                Defendants.


                       NOTICE OF UNAVAILABILITY OF COUNSEL

       Please take notice that Counsel for President Donald J. Trump, Christopher M. Kise, will

be unavailable from April 29, 2024 through at least May 14, 2024, due to a scheduled surgery on

April 29, 2024, and the post-surgery recovery period which will restrict his ability to work and

travel during that time.

 Dated: April 24, 2024                        Respectfully submitted,

                                              /s/ Christopher M. Kise
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                                              Counsel for President Donald J. Trump
                               CERTIFICATE OF SERVICE

      I, Christopher M. Kise, certify that on April 24, 2024, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF.

                                                    /s/ Christopher M. Kise
                                                    Christopher M. Kise
